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76666.0046

UNI'I'ED STATES DISTRICT COURT
WES'I`ERN DISTRICT OF TEXAS
AUSTIN DIVISIGN

CHARLES LINDBERG
Plnin:iff,

V.

TRAVELERS LLOY`DS OF TEX.AS
I`NSURANCE COMI’ANY

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CIVIL ACTION NO. 1:15-CV»00563-RP

T]]E'ULATION GF DISMISSAL

§_______..____.__.H

lt is hereby stipulated by and beweenthe parties to rhis notion through rheir designated counsel

that the above-captioned action be and hereby is dismissed With prejudice pursuant to F.R,C.P.

41(&)(1)(A)(ii). Each party to bear its own costs and fees.

`Dated this day of ,

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